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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  BIOVERATIV INC., BIOVERATIV                     )
  THERAPEUTICS INC., and BIOVERATIV               )
  U.S. LLC,                                       )
                                                  )
                       Plaintiffs,                )
                                                  )
         v.                                       )     C.A. No. 17-914 (RGA)
                                                  )
  CSL BEHRING LLC, CSL BEHRING                    )
  GMBH, and CSL BEHRING LENGNAU AG,               )
                                                  )
                       Defendants.                )

                   PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

                Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs Bioverativ Inc.,

  Bioverativ Therapeutics Inc., and Bioverativ U.S. LLC (collectively, “Bioverativ”) move for

  partial summary judgment on Defendants’ reverse doctrine of equivalents defense to

  infringement. The grounds for this motion are set forth in Plaintiffs’ Opening Brief1 submitted

  herewith.

                                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP

  OF COUNSEL:                                 /s/ Thomas C. Grimm
                                              _____________________________________
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  (312) 913-2140

  November 1, 2019
  1
   Pursuant to the Court’s Order of October 30, 2019, Plaintiffs are submitting a combined
  Opening Brief addressing their summary judgment and Daubert motions.
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  BIOVERATIV INC., BIOVERATIV                     )
  THERAPEUTICS INC., and BIOVERATIV               )
  U.S. LLC,                                       )
                                                  )
                        Plaintiffs,               )
                                                  )
         v.                                       )    C.A. No. 17-914 (RGA)
                                                  )
  CSL BEHRING LLC, CSL BEHRING                    )
  GMBH, and CSL BEHRING LENGNAU AG,               )
                                                  )
                        Defendants.               )
                                                  )

                             ORDER GRANTING PLAINTIFFS’
                            MOTION FOR SUMMARY JUDGMENT

                 The Court having considered Plaintiffs’ Motion for Partial Summary Judgment

  (“Plaintiffs’ Summary Judgment Motion”), and good cause being shown therefore,

                 IT IS HEREBY ORDERED, this ____ day of ________________, 2019, that

  Plaintiffs’ Partial Summary Judgment Motion is GRANTED, and that Defendants cannot present

  a reverse doctrine of equivalents defense.



                                               __________________________________________
                                               U.S.D.J.
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                                     CERTIFICATE OF SERVICE

          I hereby certify that on November 1, 2019, I caused the foregoing to be electronically

  filed with the Clerk of the Court using CM/ECF which will send electronic notification of such

  filing to all registered participants.

          Additionally, I hereby certify that true and correct copies of the foregoing were caused to

  be served on November 1, 2019, upon the following individuals in the manner indicated:

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